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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                        www.flsb.uscourts.gov

    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/

                                         CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that copies of the following were served via CM/ECF Notification and/or
U.S. Mail to all parties on the attached service list on the 16 th day of December, 2024:

      1. Notice of Hearing [ECF No. 132]
      2. Supplement to First and Final Fee Application for Allowance and Payment of Compensation
         and Reimbursement of Expenses for the Law Firm of DGIM Law, PLLC as Counsel for the
         Chapter 11 Debtors [ECF No. 133]
      3. First and Final Fee Application for Allowance and Payment of Compensation for Jonathan
         Feldman in His Capacity as Chief Restructuring Officer for the Chapter 11 Debtors [ECF No.
         134]
      4. Notice of Hearing [ECF No. 135]
      5. Notice of Filing [ECF No. 136]

     Dated December 16, 2024.
                                                      Respectfully submitted:

                                                      DGIM Law, PLLC
                                                      Counsel for the Debtors
                                                      2875 NE 191st Street, Suite 705
                                                      Aventura, FL 33180
                                                      Phone: (305) 763-8708

                                                      /s/ Isaac Marcushamer
                                                      Isaac Marcushamer, Esq.
                                                      Florida Bar No. 0060373
                                                      Email: isaac@dgimlaw.com
                                                      Daniel Y. Gielchinsky, Esq.
                                                      Florida Bar No. 97646
                                                      Email: dan@dgimlaw.com




1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc. The
address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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                                        SERVICE LIST


Via U.S. Mail to all parties on the attached Mailing List
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Label Matrix for local noticing                Balanced Management, LLC                        Century Tacos, Inc.
113C-1                                         1800 Second St.                                 c/o Leyza B. Florin, Esq.
Case 24-21209-LMI                              Unit 603                                        Sequor Law
Southern District of Florida                   Sarasota, fl 34236-5990                         1111 Brickell Avenue
Miami                                                                                          Suite 1250
Mon Dec 2 14:16:19 EST 2024                                                                    Miami, FL 33131-3133
Foundry ASVRF Sawgrass, LLC                    Golden Taco, Inc.                               Los Angeles West Taco, Inc.
c/o Michael S. Provenzale                      c/o Leyza B. Florin, Esq.                       c/o Leyza B. Florin, Esq.
P.O. BOX 2809                                  Sequor Law                                      Sequor Law
ORLANDO, FL 32802-2809                         1111 Brickell Avenue                            1111 Brickell Avenue
                                               Suite 1250                                      Suite 1250
                                               Miami, FL 33131-3133                            Miami, FL 33131-3133
Pacific Coast Taco, Inc.                       ReThink Human Capital Management, Inc           ShiftPixy Staffing, Inc
c/o Leyza B. Florin, Esq.                      4101 NW 25th Street                             4101 NW 25th Street
Sequor Law                                     Miami, FL 33142-6725                            Miami, FL 33142-6725
1111 Brickell Avenue
Suite 1250
Miami, FL 33131-3133
ShiftPixy, Inc.                                Tacos 2000, Inc.                                (p)INTERNAL REVENUE SERVICE
4101 NW 25 Street                              c/o Leyza B. Florin, Esq.                       CENTRALIZED INSOLVENCY OPERATIONS
Miami, FL 33142-6725                           Sequor Law                                      PO BOX 7346
                                               1111 Brickell Avenue                            PHILADELPHIA PA 19101-7346
                                               Suite 1250
                                               Miami, FL 33131-3133
4te Inc                                        A & A Ornamental, Inc                           ADP/MASTER TAX
PO Box 4048,                                   18731 SW 87th Ave                               MasterTax, LLC
Mission Viejo, CA, 92690-4048                  Cutler Bay, FL 33157-7224                       111 W. Rio Salado Parkway,
                                                                                               Tempe, AZ 85281-2878


AGP/ALLIANCE GLOBAL PARTNERS                   ALLIED SPORTS LLC                               AMWINS GROUP BENEFITS
590 MADISON AVE,                               PO BOX 845785                                   PO BOX 71051,
NEW YORK, NY 10022-2524                        BOSTON, MA, 02284-5785                          CHARLOTTE, NC, 28272-1051



ANKURA                                         ARRAY                                           ARTHUR J GALLAGHER RK MGMT SRV
201 E WASHINGTON ST, SUITE 1700,               624 S AUSTIN AVE,                               PO BOX 532143,
PHOENIX, AZ 85004-2245                         SUITE 230,                                      ATLANTA, GA 30353-2143
                                               GEORGETOWN, TX, 78626-5758


AT&T                                           Alpha Capital Anstalt                           AmWINS Specialty Casualty Solutions
PO Box 6463,                                   c/o LH Financial                                10 S LaSalle St, Suite 1500,
Carol Stream, IL, 60197-6463                   510 Madison Avenue                              Chicago, IL 60603-1077
                                               14th Floor
                                               New York, NY 10022-5730

American Recruiting & Consulting Group         AppsFlyer                                       Arizona Department of Economic Security
2200 N Commerce Pkwy, Suite 200,               100 1 ST St, 25th FL,                           PO Box 6028, Mail Drop 5881,
Weston, FL 33326-3258                          San Francisco, CA 94105-3082                    Phoenix, AZ 85005-6028



Arizona Department of Revenue                  Arondight Advisors                              Asurint
PO Box 29085,                                  120 Wall St,                                    File 2418,
Phoenix, AZ 85038-9085                         New York, New York 10005-3904                   1801 W Olympic Blvd,
                                                                                               Pasadena, CA 91199-0001
                                 Case 24-21209-LMI      Doc 137           Filed 12/16/24      Page 4 of 13
Audio Video Cameras Serv Corp                  BAKER TILLY US, LLP                                BEST OFFICE COFFEE SERVICES
AUDIO VIDEO CAMERA & SERVICES CORP.            PO Box 511563,                                     13130 SW 130 TERRACE,
3600 W PALM CT, HIALEAH, FL 33012              Los Angeles, CA, 90051-8118                        MIAMI, FL 33186-5895



BREX CC                                        BREX GHOST KITCHEN                                 BTERREL GROUP
Brex Payments LLC                              650 S 500 W Suite 300                              4324 Mapleshade Ln, Suite 103,
650 S 500 W., Suite 300,                       Salt Lake City, UT 84101-2891                      Plano, TX 75093-0050
Salt Lake City, UT 84101-2891


BUSINESS WIRE DEPT 34182                       BairesDev LLC                                      BairesDev LLC
PO BOX 39000,                                  800 W El Camino                                    c/o Tyler R. Dowdall, Esq.,
SAN FRANCISCO, CA 94139-0001                   Mountain View, CA 94040-2567                       Tarter Krinsky & Drogin, LLP,
                                                                                                  1925 Century Park East, Suite 400N,
                                                                                                  Los Angeles, California 90067-2701

Balanced Management                            Balanced Management, LLC                           Balanced Management, LLC
Registered Agents Inc.                         10880 Wilshire Blvd. 19th Floor                    1682 Pintail Way
7533 S. Center View CT                         Los Angeles, CA 90024-4101                         Sarasota, FL 34231-9136
Ste R
West Jordan, UT 84084-5526

Balanced Management, LLC                       Balanced Management, LLC                           Balanced Management, LLC
26 S. Rio Grande St. #2072                     3017 Bolling Way NE                                315 E 62 floor 3
Salt Lake City Utah 84101-1179                 Atlanta, GA 30305-2205                             New York, NY 10065-7767



Balanced Management, LLC                       Berkowitz Pollack Brant Advisors CPA               Bright Labs Services LLC
441 Lexington Ave                              PO Box 735244,                                     485 Lexington Ave 10th FL,
18th Floor                                     Dallas, TX, 75373-5244                             New York, NY, 10017-2619
New York, NY 10017-3924


(p)BROADRIDGE FINANCIAL SOLUTIONS              Broadridge ICS                                     CDW DIRECT
1155 LONG ISLAND AVENUE                        PO BOX 416423,                                     200 N. MILWAUKEE AVE,
EDGEWOOD NY 11717-8309                         BOSTON, MA, 02241-6423                             VERNON HILLS, IL 60061-1577



CINTAS                                         CK Administrative Services LLC                     CT Corporation
PO BOX 631025                                  777 S Figueroa Street,                             PO Box 4349
CINCINNATI, OH, 45263-1025                     Suite 4100                                         Carol Stream, IL 60197-4349
                                               Los Angeles, CA 90017-5841


CUSIP GLOBAL SERVICES                          Calabrese Consulting LLC                           California Employment Development Department
55 WATERS ST,                                  24 North King Street,                              3321 Power Inn Road,
NEW YORK, NY 10041-0016                        Malverne, NY 11565-1002                            Suite 140, #759
                                                                                                  Sacramento, CA 95826-3893


California Employment Development Department   California Employment Development Department       Call & Jensen
PO Box 989061,                                 PO Box 997418 Sacramento, CA 95899                 810 Newport Center Dr
West Sacramento, CA 95798-9061                                                                    Newport Beach, CA 92660
                                Case 24-21209-LMI    Doc 137          Filed 12/16/24       Page 5 of 13
Call & Jensen                               Chirstopher A Sebes                                Christopher A Sebes
810 Newport Center Dr, Suite 700,           5730 Claridon Drive                                5730 Claridon Drive,
Newport Beach, CA, 92660                    Naples, FL 34113-8385                              Naples, FL 34113-8385



Cloudflare, Inc                             DC Office of Tax and Revenue- Compliance Adm       DGA SECURITY
Mail Code: 5267,                            1101 4th Street SW,                                429 WST 53RD STREET
PO Box 660367,                              Washington, DC 20024-4457                          NEW YORK, NY 10019-5791
Dallas, TX, 75266-0367


Discount Edgar                              Dominion Capital, LLC                              Doug Greene
125 Wolf Road, Suite 315,                   341 West 38th Street                               6805 Ingalls Court,
Albany, NY 12205-1221                       Suite 800                                          Galena, OH, 43021
                                            New York, NY 10018-9686                            ipCapital Group Inc
                                                                                               426 Industrial Ave, Suite 150,
                                                                                               Willston, VT, 05495-4459
Drexel Hamilton, LLC                        EL TORO LLC                                        ELITE AUDIO VIDEO OF SO FL
77 Water ST                                 552 E MARKET STREET,                               12241 SW 185TH ST,
New York, NY 10005-4420                     LOUISVILLE, KY 40202-7111                          MIAMI, FL 33177-3181



ELITE BUSINESS VENTURES                     ENCORE                                             EQUISOLVE
PO BOX 6510,                                EVENT TECHNOL CEASARS PALACE,                      3500 SW Corporate Pkwy,
PASADENA, CA 91109-6500                     8850 W SUNSET RD, 3RD FL,                          Palm City, FL 34990-8185
                                            LAS VEGAS, NV 89148-4897


Eduardo J. Dominguez                        Email Outreach Company                             Empire Marketing Ventures LLC
5778 Devonshire Blvd.                       651 N Broad St, Suite 206,                         383 Madison Ave,
Miami, FL 33155-4062                        Middletown, Delaware 19709-6402                    New York, NY 10017-3217



Employment Development Department           Enlyte                                             FL POWER HOUSE
722 Capitol Mall                            PO Box 88026,                                      2310 NW 102ND PLACE
Sacramento, CA 95814-4703                   Chicago, IL 60680-1026                             DORAL, FL 33172-2517



FLORIDA POWER AND LIGHT                     FLORIDA POWER AND LIGHT FPL                        FRANCHIMP LTD
21400 Powerline Road                        General Mail Facility                              Kristine M Rogalewski-Mayo
Boca Raton, FL 33433-2312                   Miami, FL 33188-0001                               18531 N Steet,
                                                                                               Scottsdale, AZ, 85255


First Impulse                               Fisher Phillps LLP                                 Fisher Phillps LLP
18 Goodyear, Suite 125,                     2050 Main St                                       2050 Main St, Suite 1000,
Irvine, CA 92618-3750                       Irvine, CA 92614-8255                              Irvine, CA 92614-8240



Florida Department of Revenue               Florida Department of Revenue                      Florida Department of Revenue
2450 Shumard Oak Blvd                       5050 West Tennessee Street,                        Miami Service Center
Tallahassee, FL 32399-7022                  Tallahassee, FL 32399-0100                         3750 NW 87th Avenue, Suite 300,
                                                                                               Doral, FL 33178-2430
                                 Case 24-21209-LMI      Doc 137          Filed 12/16/24       Page 6 of 13
GITLAB INC                                     GUMMICUBE, INC                                     GUROCK
PO BOX 8244,                                   50 E ST JOHN ST,                                   0801 N Mopac Expressway,
PASADENA, CA, 91109-8244                       SAN JOSE, CA 95112-5596                            Building 1, Suite 100,
                                                                                                  Austin, TX, 78759


Gallagher Bassett                              Gentry Partnership In                              Gentry Partnership, Inc
Services, Inc                                  11523 Palmbrush Trail, Suite 193,                  11523 Palmbrush Trail
15763 Collections                              Lakewood Ranch, FL 34202-2917                      Bradenton, FL 34202-2917
Center Drive,
Chicago, IL 60693-0001

Gordon Rees Scully Mansukhani, LLP             Grasso Global Inc                                  HEISE SUAREZ MELVILLE, P.A.
275 Battery Street, 20th Fl,                   Levinson Arshonsky Kurtz & Komsky LLP              2990 Ponce de Leon Blvd, Suite 300,
San Francisco, CA 94111-3367                   15303 Ventura Blvd, Suite 1650,                    Coral Gables, FL 33134-6803
                                               Sherman Oaks, CA 91403-6620


HUB International Insurance Services Inc       Huggins Actuarial Services Inc                     ICR LLC
16030 Venture Blvd,                            111 Veterans Square, Third Floor,                  761 Main Ave
Suite 500,                                     Media, PA 19063-3292                               Norwalk, CT 06851-1080
Encino, CA 91436-2766


INTRADO DIGITAL MEDIA, LLC                     IOWA Workforce Development Unemployment Insu       IPFS Corporation
C/O INTRADO CORPORATION,                       1000 E Grand Avenue,                               3522 Thomasville Rd
PO BOX 74007143,                               Des Moines, IA 50319-0220                          Tallahassee, FL 32309-3488
CHICAGO, IL, 60674-7143


IPFS Corporation                               IPFS Corporation 3522                              IRS
3522 Thomasville Rd,                           Thomasville Rd                                     Worland, WY 82401
Suite 400,                                     Tallahassee, FL 32309
Tallahassee, FL 32309-3488


Idaho Department of Labor- Collection Enforc   Idaho State Tax Commission                         Idaho State Tax Commission
Unit 317 W Main Street,                        11321 W Chinden Blvd,                              PO Box 36,
Boise, ID 83735-0001                           Boise ID 83714-1021                                Boise, ID 83722-0036



Illinois Department of Employment Security     (p)ILLINOIS DEPARTMENT OF REVENUE                  Innovative Coverage Concepts LLC
Revenue Collection Enforcement Unit            BANKRUPTCY UNIT                                    c/o Arthur J Gallagher & Co,
33 S State Street, 10th Floor,                 PO BOX 19035                                       200 Jefferson Park,
Chicago, IL 60603-2808                         SPRINGFIELD IL 62794-9035                          Ste 110 - 200,
                                                                                                  Whippany, NJ 07981-1076

IntacctDept 3237,                              Internal Revenue Service                           Internal Revenue Service Centralized Insolve
PO Box 123237,                                 Centralized Insolvency Operation                   PO Box 7317
Dallas, TX, 75312-3237                         PO Box 7317                                        Philadelphia, PA 19101-7317
                                               Philadelphia, PA 19101-7317


J David Tax Law LLC                            JOBOT, LLC                                         Judith Simpson
7077 Bonneval Road, Suite 200,                 18575 JAMBOREE RD, SUITE 600,                      1939 Festival Court
Jacksonville, FL 32216-6073                    IRVINE, CA 92612-2554                              Joliet, IL 60435
                                  Case 24-21209-LMI     Doc 137           Filed 12/16/24   Page 7 of 13
KARLINSKY LLC                                  KPA SERVICES LL                                 Kansas Department of Revenue
103 Mountain Rd                                PO Box 83301,                                   Division of Taxation
Cornwall On Hudson, NY 12520-1802              Woburn, MA, 01813-3301                          12 SE 10th Avenue,
                                                                                               Topeka KS 66625-0001


Kansas Department of RevenueDivision of Taxa   Kenneth Weaver                                  Klein & Wilson
PO Box 3506, Avenue,                           901 Riverside Drive                             4770 Von Karman,
Topeka, KS 66601-3506                          Old Hickory, TN 37138-3150                      Newport Beach, CA 92660-2123



LANIER PARKING                                 LEAPROS WORKFORCE SOLUTIONS                     LOEB & LOEB LLP
647 BRICKELL KEY DR, SUITE 1,                  PO BOX 432,                                     345 PARK AVE,
MIAMI, FL 33131-2622                           HUNTINGTON BEACH, CA 92648-0432                 NEW YORK, NY 10154-1895



Lamb McErlane PC                               Launay Patrice, PEJ CONSULTING                  Lemke Mediation
24 E. Market St, PO Box 565,                   1560 Sawgrass Corporate Pkwy,                   515 S Flower St, Suite 1800,
West Chester, PA 19381-0565                    4th FL Suite 423-C,                             Los Angeles, CA 90071-2231
                                               Sunrise, FL 33323-2858


LexisNexis                                     Lowenstein Sandler LLP                          Lowenstein Sandler LLP
28544 Network Place,                           Attn: William B. Farrell                        One Lowenstein Drive
Chicago, IL, 60673-1285                        One Lowenstein Drive                            Roseland, NJ 07068-1791
                                               Roseland, NJ 07068-1791


Lowenstein Sandler LLP                         Lydecker LLP                                    MEF I, LP
One Lowenstein Drive,                          1221 Brickell Ave, 19th FL,                     40 Wall Street
Roseland, New Jersey 07068-1791                Miami, FL 33131-3240                            New York, NY 10005-1304



MELTWATER NEWS U                               MILNER - USAGE                                  MILNER INC
Dept LA 23721,                                 PO BOX 923197,                                  PO BOX 105743
Pasadena, CA, 91185-3721                       NORCROSS, GA, 30010-3197                        ATANTA, GA, 30348-5743



MILNER INC - BRICKELL                          MINERAL INC                                     MINTZ
PO BOX 41602,                                  6701 Koll Center Parkway, Suite 430,            666 Third Avenue
PHILADELPHIA, PA, 19101-1602                   PLEASANTON, CA 94566-8065                       New York, NY 10017-4011



MINTZ                                          Marcum & Kliegman LLP                           Marcum & Kliegman LLP
Chrysler Center,                               750 Third Ave                                   750 Third Ave 11th FL,
666 Third Avenue,                              New York, NY 10017-2703                         New York 10017-2716
New York, NY 10017-4011


Mark , Your Extended Office                    Marlins Baseball                                Marquis Aurbach Chtd
No. 128 SRP Koil Street South,                 501 Marlins Way,                                10001 Park Run Drive,
Jawahar Nagar, Chennai, 600 082, India         Miami, FL 33125-1121                            Las Vegas, NV 89145-8857
                                Case 24-21209-LMI       Doc 137        Filed 12/16/24         Page 8 of 13
Martin Scott                                   Massachusetts Department of Revenue                Meadows Collier Attorney At Law
19180 Skyridge Circle,                         100 Cambridge Street,                              901 Main Street, Suite 3700,
Boca Raton, FL 33498-6212                      Boston, MA 02204-0001                              Dallas, TX 75202-3742



Media Network Consultants LLC                  (p)MEDIANT COMMUNICATIONS INC                      MetLife Group Benefits
13245 Lower Harden Ave                         ATTN ATTN JOSEPH SIMONOWICH                        PO Box 804466,
Orlando, FL 32827-7221                         400 REGENCY FOREST DRIVE                           Kansas City, MO,
                                               SUITE 200                                          64180-4466
                                               CARY NC 27518-7703

Miami-Dade Office of the Tax Collector         Michigan Department of Treasury                    Michigan Department of Treasury
Tangible Personal Property                     City Tax Administration                            PO Box 30756,
200 NW 2nd Avenue, Miami, FL 33128             P.O. Box 30756                                     Lansing, MI 48909-8256
                                               Lansing, MI 48909-8256


Minesota Deptment of Revenue                   Missouri Department of Revenue                     Morris, Nichols, Arsht & Tunnell LLP
Collection Division                            Taxation Division                                  1201 N Market St, 16th FL, PO Box 1347,
PO Box 64651,                                  PO Box 3375,                                       Wilmington, DE, 19899-1347
Saint Paul, MN 55164-0651                      Jefferson City, MO 65102-3375


NASDAQ                                         NATPAY                                             NOW CFO NEWPORT BEACH
51 West 42nd Street, Floors 26, 27, 28,        3415 W Cypress St,                                 5251 S Green Street,
New York, NY 10036                             Tampa, FL 33607-5007                               Suite 350,
                                                                                                  Murray, UT, 84123


Nasdaq Corporate                               National Payment Corporation                       Navarro Hernandez P
Solutions, LLC                                 3415 W Cypress Street                              66 W Flagler St 6th FL,
PO Box 780700,                                 Tampa, FL 33607-5007                               Miami, FL 33130-1884
Philadelphia, PA,
19178-0700

New Benefits                                   New Jersey Department of Labor and Workforce       New Jersey Department of Labor and Workforce
Alexandra Gonzalez Zabala                      Delinquency Unit                                   Division of Employer Accounts
Judith Simpson                                 PO Box 932,                                        PO Box 059,
1839 Festival Court,                           Trenton, NJ 08625-0932                             Trenton, NJ 08646-0001
Joliet, IL 60435-3785

New Jersey Department of the Treasury          New Mexico Department of Workforce Solutions       New Mexico Taxation & Revenue
Division of Taxation                           PO Box 1928,                                       PO Box 25128,
PO Box 1009,                                   Albuquerque, NM 87103-1928                         Santa Fe, NM 87504-5128
Moorsetown, NJ 08057-0909


New York Department of Labor- Unemployment I   New York Department of Labor- Unemployment I       New York Department of Labor- Unemployment I
Enforcement Unit                               PO Box 15012                                       PO Box 4301
PO Box 4305                                    Albany, NY 12212-5012                              Brimingham, NY 13902-4301
Binghamton, NY 13902-4305


New York Department of Taxation and Finance    New York Employment Contributions and Taxes        New York State Department of Taxation & Fina
Civil Enforecement Division - Offset Uni       PO Box 4119                                        Bankruptcy Section
Albany NY 12227-0001                           Binghamton, NY 13902-4119                          P O Box 5300
                                                                                                  Albany, NY 12205-0300
                                   Case 24-21209-LMI    Doc 137          Filed 12/16/24   Page 9 of 13
Norman S Gerstein PA                           (p)OKTA INC                                    OSBORN MALEDO
5966 S. Dixie Highway, Suite 300,              100 FIRST STREET                               2929 N CENTRAL AVE, 21 FLOOR,
Miami, FL 33143-5177                           SUITE 600                                      PHOENIX, AZ 85012-2782
                                               SAN FRANCISCO CA 94105-3513


Office of the US Trustee                       Okin Pest Control                              Oklahoma Tax Commission
51 S.W. 1st Ave.                               2170 Piedmont Rd NE                            Oklahoma City, OK 73194-0001
Suite 1204                                     Atlanta, GA, 30324-4135
Miami, FL 33130-1614


Oppenheim Insurance Broker Inc.                Osborn Maledon                                 Osher Capital Partners, LLC
23742 Lyons Ave,                               2929 N Central Ave                             c/o LH Financial
PO Box 220957,                                 Phoenix, AZ 85012-2793                         510 Madison Ave
Newhall, CA 91322-0957                                                                        14th Floor
                                                                                              New York, NY 10022-5730

PETTIT KOHN                                    Payne & Fears LLP                              Payne & Fears LLP
11622 EL CAMINO REAL, SUITE 300,               4 Park Plaza                                   4 Park Plaza, Suite 1100,
SAN DIEGO, CA 92130-2051                       Irvine, CA 92614-8550                          Irvine, CA 92614-8550



Pennsylvania Department of Labor & Industry    Philadelphia Ins Co                            Pitney Bowes
Office of Unemployment Compensation Tax        PO BOX 70251,                                  PO Box 371874,
651 Boas Street, Room 915,                     PHILADELPHIA, PA, 19176-0251                   Pittsburgh, PA, 15250-7874
Harrisburg, PA 17121-0751


Plant Care                                     Premier Produce                                Prequin Limited
PO Box 50115,                                  2672 SW 36th St                                1st Floor, Verde, 10 Bressenden Place,
Lighthouse Point, FL 33074-0115                Dania Beach, FL 33312-5005                     London, United Kingdom,
                                                                                              SW1E 5DH, United Kingdom


PrismHR                                        Professional Window Tinters                    QB Animation Inc
PO BOX 844768,                                 7385 Bird Rd (40th St)                         320 Lighthouse Drive,
Boston, MA 02284-4759                          Miami, FL, 33155                               Palm Beach Gardens, FL 33410-4835



RB INTERNATIONAL                               RUNWAY 1 LLC                                   Restaurant Finance Monitor
SUPPLY CORP                                    250 Greenpoint Ave,                            2808 Anthony Lane South,
7265 NW 44TH ST                                Brooklyn, NY 11222-2493                        Minneapolis, MN 55418-3234
MIAMI, FL 33166-6418


Richard DeBeikes                               Rose, Snyder & Jacobs LLP                      Rose, Snyder & Jacobs LLP
23241 Ventura Blvd Ste 224C,                   15821 Ventura Blvd                             15821 Ventura Blvd, Suite 490,
Woodland Hills, CA 91364-1042                  Encino, CA 91436-4778                          Encino, CA 91436-4778



Roxborough Pomerance NYE & Adreani             Roxborough Pomerance NYE & Adreani             SICHENZIA ROSS FERENCE LLP
5820 Canoga Ave                                5820 Canoga Ave, Suite 250,                    1185 AVE OF THE AMERICAS,
Woodland Hills, CA 91367-6549                  Woodland Hills, CA 91367-6549                  31ST FLOOR,
                                                                                              NEW YORK, NY 10036-2612
                                Case 24-21209-LMI     Doc 137         Filed 12/16/24   Page 10 of 13
STERICYCLE                                   SUNZ INSURANCE                                Say Technologies LLC
28883 NETWORK PLACE,                         1301 6th Ave W,                               85 Willow Road
CHICAGO, IL, 60673-1288                      Bradenton, FL 34205-7410                      Menlo Park, CA 94025-3656



SearchGeeks                                  Securities and Exchange Commission            Securities and Exchange Commission
701 Palomar Airport Rd. #170,                100 F Street, NE,                             801 Brickell Avenue
Carlsbad CA 92011-1045                       Washington, DC 20549-2001                     Suite 1950
                                                                                           Miami, FL 33131-4901


Slavic 401K                                  Slavic Integrated Administration              SolutionCore Inc
1075 Broken Sound Pkwy NW, Suite 100,        1075 NW Brkn Snd Pkway, Ste 100,              9742 Hibiscus Drive,
Boca Raton, FL, 33487-3540                   Boca Raton, FL,                               Garden Grove, CA 92841-1717
                                             33487-3540


Specialty Marketing Consulting Inc           Sperling & Slater PC                          Sports1ternship, LLC
c/o Kimberly Peters,                         55 West Monroe Street, Suite 3200,            23 Rancho Circle,
PO Box 6700,                                 Chicago, IL 60603-5035                        Lake Forest, CA 92630-8324
Pine Mountain Club, CA 93222-6700


Sportslternship, LLC                         Staff Benefits                                Stifel Financial
23 Rancho Circle                             Management, Inc                               510 N. Broadway
Lake Forest, CA 92630-8324                   2307 FENTON PARKWAY #107-126,                 Saint Louis, MO 63102
                                             San Diego, CA 92108-4746


SullivanCurtisMonroe Ins Serv LLC            TEKWORKS                                      TENNESSE DEPT OF REVENUE
1920 Main St, Suite 600,                     13000 Gregg Street,                           500 DEADERICK ST, ANDREW JACKSON ST OFFI
Irvine, CA 92614-7226                        Poway, CA 92064-7151                          NASHVILLE, TN 37242-0001



TMF SERVICES HONDURAS                        TRUSAIC                                       Tennessee Department of Labor & Workforce De
Colonia Lomas del Guijarro Sur,              3530 WILSIRE BLVD, SUITE 1460,                Employment Security Division,
Domicilio Alquilado, Contiguoa Plaza Fic     LOS ANGELES, CA 90010-2334                    Employer Accounts Audit
5to Nivel. Tegucigalpa M.D.C. Honduras                                                     220 French Landing Drive,
                                                                                           Nashville, TN 37243-1002

Toppan Merrill LLC                           Traliant Operating LLC                        Trenan Law
PO BOX 74007295,                             PO Box 844090,                                PO Box 1102,
CHICAGO, IL 60674-7295                       Boston, MA 02284-4090                         Tampa, FL, 33601-1102



UNITED HEALTHCARE                            US FOODS                                      VERIFONE INC
PO BOX 111111,                               PO BOX 281838                                 c/o Colliers Int’l Lease Admin,
NEW TOWN, MO, 93195-9782                     BOCA RATON, FL, 30384-1838                    301 University Ave, Ste 100,
                                                                                           Sacramento, CA 95825-5537


VERITEXT, LLC                                VIA Design Studio                             Virginia Department of Taxation
PO BOX 71303,                                103 Westward Drive                            PO Box 1115.
CHICAGO, IL, 60694-1303                      Miami, FL 33166-5257                          Richmond, VA 23218-1115
                                  Case 24-21209-LMI           Doc 137          Filed 12/16/24      Page 11 of 13
Virginia Department of Taxation                      WASTE MANAGEMENT INC FL                              WHITE & CASE
PO Box 1777,                                         8801 NW 91ST STREET,                                 SE FINANICAL CTR STE 4900,
Richmond, VA 23218-1777                              MEDLEY, FL 33178-1815                                200 S BISCAYNE BLVD,
                                                                                                          MIAMI, FL, 33131-2352


WORKIVA                                              White & Case                                         Whitney White
2900 UNIVERSITY BLVD,                                SE Financial Ctr Ste                                 100 Albert Way 08540-3202
AMES, IA 50010-8665                                  4900 Miami, FL 33131



Whitney White                                        Widgets & Web LLC                                    eFax Corporate
100 Albert Way, Apt 1417,                            19500 194th Trl,                                     C/O J2 Cloud Services LLC,
Princeton, NJ 08540-3215                             Golden Beach, FL, 33160                              PO BOX 51873,
                                                                                                          LOS ANGELES, CA, 90051-6173


nFusion Capital Finance LLC                          Daniel Gielchinsky                                   Eric Rubin
6444 Burnet Rd Unit 100,                             2875 NE 191st Street                                 Moecker Auctions Inc
Austin, TX 78757-3252                                Suite 705                                            1885 Marina Mile Blvd #103
                                                     Aventura, FL 33180-2803                              Ft. Lauderdale, FL 33315-2243


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2875 NE 191st Street                                 Miami, FL 33131-1824                                 2385 NW Executive Center Dr., #300
Suite 705                                                                                                 Boca Raton, FL 33431-8530
Aventura, FL 33180-2803

Mark Absher                                          Robert Angueira                                      Scott Absher
c/o Shraiberg Page P.A.                              c/o Paul Steven Singerman                            c/o Shraiberg Page P.A.
2385 NW Executive Center Dr., #300                   Berger Singerman LLP                                 2385 NW Executive Center Dr., #300
Boca Raton, FL 33431-8530                            1450 Brickell Avenue                                 Boca Raton, FL 33431-8530
                                                     Suite 1900
                                                     Miami, FL 33131-5319


                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


United States of America Internal Revenue Se         Broadridge Financial Solutions                       (d)IRS - Department of the Treasury
c/o Raychelle A. Tasher                              1155 long Island Avanue                              Ogen, UT 84201
99 NE 4 St. # 300                                    Edgewood, NY 11717
Miami, FL 33132


Illinois Department of Revenue                       Mediant                                              (d)Mediant Communications Inc.
PO Box 19006,                                        Communications Inc.                                  400 Regency Forest Drive
Springfield, IL 62794                                PO BOX 29976,                                        Suite 200
                                                     NEW YORK, NY, 10087-9976                             Cary, NC 27518


OKTA INC
100 FIRST STREET, SUITE 600,
SAN FRANCISCO, CA, 94105
                                  Case 24-21209-LMI             Doc 137        Filed 12/16/24      Page 12 of 13


                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Sunz Insurance Solutions, LLC                     (u)Miami                                             (d)A & A Ornamental, Inc
                                                                                                          18731 SW 87th Ave,
                                                                                                          Cutler Bay, FL 33157-7224



(d)ALLIED SPORTS LLC                                 (d)CINTAS                                            (d)CK Administrative Services LLC
PO BOX 845785,                                       PO BOX 631025,                                       777 S Figueroa Street, Suite 4100,
BOSTON, MA, 02284-5785                               CINCINNATI, OH, 45263-1025                           Los Angeles, CA 90017-5841



(d)CT Corporation                                    (d)DGA SECURITY                                      (d)FL POWER HOUSE
PO Box 4349,                                         429 WST 53RD STREET,                                 2310 NW 102ND PLACE,
Carol Stream, IL,                                    NEW YORK, NY 10019-5791                              DORAL, FL 33172-2517
60197-4349


(d)ICR LLC                                           (d)KARLINSKY LLC                                     (d)Kenneth Weaver
761 Main Ave,                                        103 Mountain Road,                                   901 Riverside Drive,
Norwalk, CT 06851-1080                               Cornwall-On-Hudson, NY 12520-1802                    Old Hickory, TN 37138-3150



(d)MILNER INC                                        (d)MILNER INC BRICKELL                               (d)MILNER USAGE
PO BOX 105743,                                       PO BOX 41602                                         PO BOX 923197
ATANTA, GA, 30348-5743                               PHILADELPHIA, PA, 19101-1602                         NORCROSS, GA, 30010-3197



(d)Media Network Consultants LLC                     (d)Premier Produce                                   (d)Professional Window Tinters
13245 Lower Harden Ave,                              2672 SW 36th St,                                     7385 Bird Rd (40th St),
Orlando, FL 32827-7221                               Dania Beach, FL 33312-5005                           Miami, FL, 33155



(d)RB INTERNATIONAL SUPPLY CORP                      (d)Securities and Exchange Commission                (d)Sunz Insurance
7265 NW 44TH ST,                                     100 F. Street NE                                     1301 6th Ave W
MIAMI, FL 33166-6418                                 Washington, DC 20549-2001                            Bradenton, FL 34205-7410



(d)US FOODS                                          (d)VIA Design Studio                                 (d)WORKIVA
PO BOX 281838,                                       103 Westward Drive,                                  2900 University Blvd
BOCA RATON, FL, 30384-1838                           Miami, FL 33166-5257                                 Ames, IA 50010-8665



(d)White & Case                                      (d)Whitney White                                     (u)Richelle Kalnit
SE Financial Ctr Ste 4900                            100 Albert Way 08540                                 Hillco IP Services LLC
Miami, FL 33131
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Mailable recipients   257
Bypassed recipients    27
Total                 284
